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                      IN THE UNITED STATES BANKRUPTCY COURT
                                  District of Puerto Rico

  In the Matter of:                                  Case No. 20-02873 EAG

                                                     Chapter 13
  LYDIA IDANIS OTERO ENCARNACION


  SSN: XXX-XX-1053

  Debtor(s)



      MOTION TO SUPPLEMENT MOTION FILED ON 11/17/2021 (DOCKET #66)

 TO THE HONORABLE COURT:

 The undersigned, attorney for the above-named debtor, notifies the Court as follows,

 1. On 11/17/2021 debtor filed a motion requesting extension of time to allow a late filing of

    claims on behalf of creditors Condominio Veredas del Mar and Federico Robles (DOCKET

    #66). The court notified the debtor that the motion did not comply with PR Bankruptcy

    Rule 9013(c)(1) and should supplement the motion with the corresponding time language.

 2. In order to comply with the notice requirement , debtor hereby informs that a copy of the

    motion in docket #66 was mailed again on this date thorough the Federal Postal Service

    including a copy of present motion with the appropriate notice.

                                            NOTICE

               Within fourteen (14) days after service as evidenced by the certification,

        and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you

        were served by mail, any party against whom this paper has been served, or any

        other party to the action who objects to the relief sought herein, shall serve and
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        file an objection or other appropriate response to this paper with the clerk's

        office of the United States Bankruptcy Court for the District of Puerto Rico. If

        no objection or other response is filed within the time allowed herein, the paper

        will be deemed unopposed and may be granted unless: (i) the requested relief

        is forbidden by law; (ii) the requested relief is against public policy; or (iii) in

        the opinion of the court, the interest of justice requires otherwise.

    WHEREFORE, we respectfully request from this Honorable Court to take notice of the

 informed.

    I CERTIFY that a copy of this motion has been filed with the Clerk of the Court that will

 send notice to the Office of the US Trustee, to Chapter 13 trustee Alejandro Oliveras Rivera,

 to Condominio Veredas del Mar and other parties in the case as per Master Address List by

 the CM/ECF system.

 Creditor Condomio Veredas del Mar and Non ECF participant creditors have also been

 notified using the Federal Postal Service. Correct Address of Condomino Veredas del Mar

 6309 Cond Veredas del Mar Vega Baja PR 00693 as disclosed by his attorney Luis Molero

 Rabasa.

 In Vega Baja, Puerto Rico, this day February 14, 2022.



                                              S/ Juan O Calderon Lithgow
                                              JUAN O. CALDERON LITHGOW
                                              ATTORNEY FOR DEBTOR, 205607
                                              PO BOX 1710
                                              VEGA BAJA, PR 00694-1710
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